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                          UNITED STATES DISTRICT COURT
                                  DISTRICT O F NEVADA
 UNITED STATESOF AM ERICA,                    )
                                              )
                     Plaintiff,               )
                                              )
        v.                                    )       2:08-CR-0178-PM P IRJJI
                                              )
 JOSEPH M ANFREDONIA,                         )
                                              )
                     Defendant.               )
                                  ORDER OF FORFEITURE
        0n September13,2010,defendantJOSEPH M ANFREDONIA pled guiltytoCountOneof
 aFive-colmtcrim ina!lndictmentcharginghim in CountonewithConspiracytoCom m itM ailFraud,
 W ireFraud,and BankFraud inviolationofTitle l8,United StatesCode,Sections1341, 1343,1344,
 and 1349andagreedtotheforfeitureofpropertysetforthintheForfeitureAllegationsoftheCriminal
 Indictment.
        ThisCourtfindsthatdefendarltJOSEPH M ANFREDONIA shallpay a crim inalforfeiture
 money judgmentof$1,032,462.73 in United StatesCurrency to the United States ofAmericas
 pursuanttoFed.R.Crim.P.32.208(1)and(2);Title 18,UnitedStatesCode,Section98l(a)(1)(C)
 andTitle28,UnitedStatesCode,Section2461(c);Titlel8,UnitedStatesCode,Section982(a)(2)(A);
 and Title 21,United StatesCode,Sedion 853.
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        THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DECREED thattheUnited

 Statesrecoverfrom JOSEPH M ANFREDONIA acriminalforfeituremoneyjudgmentintheamount
 of$1,032,462.73 in United sotescurrency.
        DATED this 1
                   2A day of
                         .
                                                    ,2010.




                                            TED    ATES DISTRICT JUDGE




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